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Determination

To: Shari L. Ober

From: Patrick Giampaolo

cc: JeffDouma Jerome Stawara Al Bernat
Pate: November 2, 2010

Re: Complaint Regarding Incident in Monclova, Mexico

Dear Ms. Ober:

| am in receipt of your Statement of Complaint regarding the alleged actions of Mr. Jorge
Gutierrez, Inflator Plant Manager in Monclova Mexico, during dinner on Wednesday,
October 26, 2010 at El Establo Restaurant in Monclova. After a thorough investigation of
the night's events, using your complaint and witness accounts of the situation, we have
found that Mr. Gutierrez’s behavior is in violation of the TKH Harassment Policy and the
Company has terminated him effective this date.

| am sorry that you experienced these types of behavior but appreciate your willingness to
come forward with the Complaint. The Company takes a strong position in both its written
Policy on Harassment and in taking swift and appropriate action when needed.

If there are any questions or concerns you may have, | would be happy to schedule some
time to speak with you.

Patrick M. Giampaclo

Vice President of Human Resources

